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 1 MCGREGOR W. SCOTT
   United States Attorney
 2 JUSTIN L. LEE
   Assistant United States Attorney
 3 501 I Street, Suite 10-100
   Sacramento, CA 95814
 4 Telephone: (916) 554-2700
 5 Attorneys for Plaintiff
   United States of America
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 7
 8                                UNITED STATES DISTRICT COURT

 9                                EASTERN DISTRICT OF CALIFORNIA

10
11   UNITED STATES OF AMERICA,                     CASE NO. 2:18-CR-00191-MCE
12                                  Plaintiff,     STIPULATION REGARDING EXCLUDABLE
                                                   TIME PERIODS UNDER SPEEDY TRIAL
13                           v.                    ACT; ORDER
14   ZULEMA ELIZABETH RODRIGUEZ,                   DATE: August 15, 2019
                                                   TIME: 10:00 a.m.
15                                  Defendant.     COURT: Hon. Morrison C. England, Jr.
16
17                                            STIPULATION

18         1.       By previous order, this matter was set for status on August 15, 2019.

19         2.       By this stipulation, the defendant now moves to continue the status

20 conference until October 3, 2019, and to exclude time between August 15, 2019, the
21 previously set status hearing, and October 3, 2019, under Local Code T4.
22         3.       The parties agree and stipulate, and request that the Court find the

23 following:
24                  a)    The government has represented that the discovery associated with

25         this case includes law enforcement reports, photographs, and several hours of audio

26         and video recordings. All of this discovery has been either produced directly to

27         counsel and/or made available for inspection and copying.

28                  b)    Counsel for defendant desire additional time consult with her client,

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 1        review the discovery, conduct defense investigation, and otherwise prepare for trial.

 2               c)      On March 20 and 21, 2019, the parties conferred regarding the status

 3        of the case. Counsel for the defendants conveyed that they are still working with

 4        the defendants to determine how to proceed with the case. Additionally, the United

 5        States informed defense counsel that the United States will be producing additional

 6        discovery in the form of forensic reports of the defendants’ cellular telephones.

 7        Defense counsel will need additional time to review the forensic reports.

 8               d)      On August 9 and 12, 2019, the parties conferred regarding the status

 9        of the case. The parties have engaged in discussions regarding potential resolution

10        of the case. Counsel for defendant requested additional time to meet with the

11        defendant and discuss potential resolution options.

12               e)      Counsel for defendant believe that failure to grant the above-requested

13        continuance would deny her the reasonable time necessary for effective preparation,

14        taking into account the exercise of due diligence.

15               f)      The government does not object to the continuance.

16               g)      Based on the above-stated findings, the ends of justice served by

17        continuing the case as requested outweigh the interest of the public and the

18        defendant in a trial within the original date prescribed by the Speedy Trial Act.

19               h)      For the purpose of computing time under the Speedy Trial Act, 18

20        U.S.C. § 3161, et seq., within which trial must commence, the time period of August

21        15, 2019, to October 3, 2019, inclusive, is deemed excludable pursuant to 18 U.S.C.§

22        3161(h)(7)(A), B(iv) [Local Code T4] because it results from a continuance granted

23        by the Court at defendant’s request on the basis of the Court’s finding that the ends

24        of justice served by taking such action outweigh the best interest of the public and

25        the defendant in a speedy trial.

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 1        4.       Nothing in this stipulation and order shall preclude a finding that other

 2 provisions of the Speedy Trial Act dictate that additional time periods are excludable from
 3 the period within which a trial must commence.
 4        IT IS SO STIPULATED.

 5
 6   Dated: August 12, 2019                            MCGREGOR W. SCOTT
                                                       United States Attorney
 7
 8                                                     /s/ JUSTIN L. LEE
                                                       JUSTIN L. LEE
 9                                                     Assistant United States Attorney
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11
     Dated: August 12, 2019                            /s/ HANNAH LABAREE
12                                                     HANNAH LABAREE
                                                       Counsel for Defendant
13                                                     Zulema Elizabeth Rodriguez
14
15                                             ORDER
16        IT IS SO ORDERED.
17 Dated: August 14, 2019
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     STIPULATION REGARDING EXCLUDABLE TIME         3
30   PERIODS UNDER SPEEDY TRIAL ACT
